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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :       Case No. 1:21-cr-660-RBW
         v.                                    :
                                               :
DANIEL MICHAEL MORRISSEY                       :
                                               :
                 Defendant                     :

                     GOVERNMENT’S SENTENCING MEMORANDUM

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Defendant Daniel Michael Morrissey to 14 days incarceration as part of a 36-month

term of probation, 60 hours of community service, and $500 restitution.

    I.        Introduction

         Defendant Daniel Michael Morrissey, a 40-year-old self-employed writer, participated in

the January 6, 2021 attack on the United States Capitol—a violent attack that forced an interruption

of Congress’s certification of the 2020 Electoral College vote count, threatened the peaceful

transfer of power after the 2020 Presidential election, injured more than one hundred police

officers, and resulted in more than 2.7 million dollars’ in losses. 1

         On February 23, 2022, Defendant Morrissey pleaded guilty to one count of 40 U.S.C. §

5104(e)(2)(G) - parading, demonstrating, or picketing in a Capitol Building. As explained herein,


1
  Although the Statement of Offense in this matter, filed on February 23, 2022, (ECF No. 17 at ¶
6) reflects a sum of more than $1.4 million dollars for repairs, as of April 5, 2022, the approximate
losses suffered as a result of the siege at the United States Capitol was $2,734,783.15. That amount
reflects, among other things, damage to the United States Capitol building and grounds and certain
costs borne by the United States Capitol Police.


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a sentence of 90 days’ home detention as part of a 36-month term of probation, 60 hours of

community service, and $500 restitution is appropriate because (1) the defendant spent a total of

28 minutes inside the Capitol; (2) he paraded around the building, loudly chanting; (3) he took

selfies while inside the Capitol building; and (4) sent videos of himself inside the Capitol to a co-

worker, in an apparent attempt to boast of his activities.

       The Court must also consider that Morrissey’s conduct on January 6, like the conduct of

hundreds of other rioters, took place in the context of a large and violent riot that relied on numbers

to overwhelm police officers, breach the Capitol Building, and disrupt the proceedings. See United

States v. Thomas Fee, 1:21-cr-00133 (JDB), Tr. 04/01/2022 at 17 (“The defendant was an active

participant in a mob assault on our core democratic values and our cherished institution. And that

assault was intended by many and by the mob at large in general to interfere with an important

democratic processes of this country. I cannot ignore that, cannot pull this misdemeanor out of that

context.”) (statement of Judge Bates). The defendant’s actions and those of his fellow rioters

enabled the breach of the Capitol, threatened the lives of the police officers, legislators, and their

staffs, and disrupted the certification vote for several hours. But for his actions alongside so many

others, the riot likely would have failed. See United States v. Matthew Mazzocco, 1:21-cr-00054

(TSC), Tr. 10/4/2021 at 25 (“A mob isn't a mob without the numbers. The people who were

committing those violent acts did so because they had the safety of numbers.”) (statement of Judge

Chutkan). Here, the defendant’s participation in a riot that succeeded in halting the Congressional

certification combined with the facts of and circumstances of Morrissey’s crime support the

government’s recommended sentence, supra. .




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   II.      Factual and Procedural Background

                            The January 6, 2021 Attack on the Capitol

         To avoid unnecessary exposition, the government refers to the general summary of the

attack on the U.S. Capitol. See ECF 17 (Statement of Offense), at ¶¶ 1-7. As this Court knows, a

riot cannot occur without rioters, and each rioter’s actions—from the most mundane to the most

violent— contributed, directly and indirectly, to the violence and destruction of that day. With that

backdrop we turn to Morrissey’s conduct and behavior on January 6.

             Defendant Morrissey’s Role in the January 6, 2021 Attack on the Capitol

         On January 18, 2021, a confidential witness contacted the FBI tip line and reported

that a co-worker (“co-worker”) showed him/her photographs of Morrissey, who formerly worked

at the same company, inside the US Capitol building. Morrissey had sent the photographs to the

co-worker via text message. Morrissey sent the co-worker a text message on January 6, 2021 of

himself at the Lincoln Memorial. The co-worker replied and asked Morrissey if he was at the

Capitol. Morrissey responded with a photo that appears to have been taken inside the Capitol

followed by the text “Shit got crazy” and “I nave (sic) it all on video.” Morrissey then sent a

selfie, apparently taken inside the U.S. Capitol building (below).




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       The following day, Morrissey sent the co-worker a video of himself inside the Capitol

building in the rotunda area, wearing the same hat and sunglasses as shown in the picture above.

The crowd, including Morrissey, can be heard loudly chanting, “U-S-A” throughout the video.

Morrissey entered the Capitol building through the Rotunda door at 2:27 pm. Morrissey

proceeded into Statuary Hall, then entered the Will Rogers Hallway, where he is part of a group

of people pressing against a line of officers, who are blocking rioters from going down a

hallway. From there, Morrissey proceeds to the House Main Door, where he can be seen

chanting “Stop the steal!” with a large crowd He exited the Upper House Doors at 2:55 pm, for a

total of approximately 28 minutes inside the Capitol.



                                The Charges and Plea Agreement

       On October 21, 2021, Morrissey was charged by criminal complaint with Knowingly

Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority, in

violation of 18 USC §1752(a)(1); Knowingly Engaging in Disorderly or Disruptive Conduct in



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any Restricted Building or Grounds, in violation of 18 USC §1752(a)(2); and Violent Entry and

Disorderly Conduct on Capitol Grounds, in violation of 40 USC §5104(e)(2)(D) and (G).

          On November 4, 2021, Morrissey surrendered to federal law enforcement in Denver,

Colorado and had an initial appearance via video conference the same day. On November 8, 2021,

the United States charged Morrissey by Information with Entering and Remaining in a Restricted

Building or Grounds, in violation of 18 USC §1752(a)(1); Disorderly and Disruptive Conduct in

a Restricted Building or Grounds, in violation of 18 USC §1752(a)(2); Disorderly Conduct in a

Capitol Building, in violation of 40 USC §5104(e)(2)(D) and; Parading, Demonstrating, or

Picketing in a Capitol Building, in violation of 40 USC §5104(e)(2)(G). On February 23, 2022,

pursuant to a plea agreement, Morrissey pleaded guilty to Count Four of the Information, charging

him with a violation of Parading, Demonstrating, or Picketing in a Capitol Building, in violation

of 40 USC §5104(e)(2)(G). By plea agreement, Defendant Morrissey also agreed to pay $500 in

restitution to the Architect of the Capitol.

   III.      Statutory Penalties

          Morrissey now faces a sentencing on a single count of violating 40 USC §5104(e)(2)(G).

As noted by the plea agreement and the U.S. Probation Office, the defendant faces up to six months

of imprisonment and a fine of up to $5,000. The defendant must also pay restitution under the

terms of his or her plea agreement. See 18 U.S.C. § 3663(a)(3); United States v. Anderson, 545

F.3d 1072, 1078-79 (D.C. Cir. 2008). As this offense is a Class B Misdemeanor, the Sentencing

Guidelines do not apply to it. 18 U.S.C. § 3559; U.S.S.G. §1B1.9.

   IV.       Sentencing Factors Under 18 U.S.C. § 3553(a)

          In this misdemeanor case, sentencing is guided by 18 U.S.C. § 3553(a), which identifies

the factors a court must consider in formulating the sentence. Some of those factors include: the



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nature and circumstances of the offense, § 3553(a)(1); the history and characteristics of the

defendant, id.; the need for the sentence to reflect the seriousness of the offense and promote

respect for the law, § 3553(a)(2)(A); the need for the sentence to afford adequate deterrence, §

3553(a)(2)(B); and the need to avoid unwarranted sentence disparities among defendants with

similar records who have been found guilty of similar conduct. § 3553(a)(6). In this case, as

described below, the Section 3553(a) factors weigh in favor of 14 days incarceration as part of a

36-month term of probation, 60 hours of community service, and $500 restitution.

             A. The Nature and Circumstances of the Offense

          The attack on the U.S. Capitol, on January 6, 2021 was a crime unparalleled in American

history and defies comparison to other violent riots. It represented a grave threat to our democratic

norms and practices. Indeed, it was the one of the only times in our history when the building was

literally occupied by hostile participants. By its very nature, the attack defies comparison to other

events.

          While each defendant must be sentenced based on their own conduct, this Court should

take into account that each person who entered the Capitol on January 6 without authorization did

so under unusual circumstances. As they entered the Capitol, they very likely crossed through

numerous barriers and barricades and heard the violent outcries of a mob. Depending on the timing

and location of their approach, they also may have observed extensive fighting between the rioters

and police and smelled chemical irritants in the air. No rioter was a mere tourist that day.

          Additionally, while assessing Morrissey’s individual conduct and fashioning a just

sentence, this Court should look to a number of critical aggravating and mitigating factors,

including: (1) whether, when, and how the defendant entered the Capitol building; (2) whether the

defendant encouraged violence; (3) whether the defendant encouraged property destruction; (4)



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defendant’s reaction to acts of violence or destruction; (5) whether, during or after the riot, the

defendant destroyed evidence; (6) the length of the defendant’s time inside of the building, and

exactly where the defendant traveled; (7) the defendant’s statements in person or on social media;

(8) whether the defendant cooperated with, or ignored commands from police officers; and (9)

whether the defendant demonstrated sincere remorse or contrition. While these factors are not

exhaustive nor dispositive, they help to place each defendant on a spectrum as to their fair and just

punishment. Had Morrissey personally engaged in violence or destruction, he or she would be

facing additional charges and/or penalties associated with that conduct. The absence of violent or

destructive acts on the part of Morrissey is therefore not a mitigating factor in misdemeanor cases,

nor does it meaningfully distinguish the defendant from most other misdemeanor defendants. The

defendant’s lack of violence and property destruction is the only reason he was charged only with,

and permitted to plead to, a misdemeanor rather than felony.

       Morrissey entered the Capitol building on January 6 with a mob of like-minded people and

disrupted the democratic process. During his 28 minutes in the Capitol, he took videos of himself

marching, and took a selfie, which he later sent to a co-worker. At no point has he shown genuine

remorse for his actions. While he admitted during his PSR interview that he “should have never

walked through those doors,” he has never acknowledged the inherent wrongfulness of his

conduct. PSR ¶ 27

       Further, after entering the Capitol, either Morrissey failed to identify the scene for what it

was – a violent mob storming the Capitol to achieve its political goal – or he did recognize the

scene for what it was and chose to remain and join in. At one point, Morrissey is near the front of

a mob of people pushing against several police officers attempting to prevent the crowd from

entering a hallway. It is unclear from the video whether Morrissey was actively pushing against



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the officers on his own accord, or if he was caught up in the mass of people. What is clear,

however, is that would he would have known from at least this point forward that this was a violent

event. Undeterred, Morrissey proceeds from there to the House Main Door, where he is part of a

crowd chanting “Stop the steal!” People near the front of the group were attempting to breach the

door, with the crowd chanting “Break it down!” Because Morrissey is behind the view of the

camera, it is unclear whether he was still in the crowd at that point.

       At no point during the riot, or at any time after, has Morrissey expressed remorse for the

wrongfulness of his conduct. While inside the Capitol, he took the time to take a selfie and video,

which he proudly shared with a co-worker. In his statement for the PSR, he minimized his actions,

saying he was “just experiencing it,” and denied that participating in the riot has impacted his life

in any way. PSR ¶ 26-27.

       Accordingly, the nature and the circumstances of this offense establish the clear need for a

sentence of 90 days’ home detention as part of a 36-month term of probation, 60 hours of

community service, and $500 restitution in this matter.

           B. The History and Characteristics of Morrissey

       As set forth in the PSR, Morrissey’s criminal history consists of a misdemeanor conviction

for Driving while ability impaired, and an arrest for Annoying phone calls. ECF 18 ¶ 33-34 and

several traffic infractions. ECF 18 ¶¶ 35-37. Morrissey reported that he holds an MBA and works

full-time as a screenwriter. He reported that his actions on January 6 were not a result of mental

health issues or substance abuse. In short, he is well-educated and intelligent, and on the day of

the riot, was clear minded about his actions.

           C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
              and Promote Respect for the Law




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         The attack on the U.S. Capitol building and grounds was an attack on the rule of law. “The

violence and destruction of property at the U.S. Capitol on January 6 showed a blatant and

appalling disregard for our institutions of government and the orderly administration of the

democratic process.” 2 As with the nature and circumstances of the offense, this factor supports a

sentence of incarceration, as it will in most cases, including misdemeanor cases, arising out of the

January 6 riot. See United States v. Joshua Bustle and Jessica Bustle, 21-cr-238-TFH, Tr. 08/24/21

at 3 (“As to probation, I don't think anyone should start off in these cases with any presumption of

probation. I think the presumption should be that these offenses were an attack on our democracy

and that jail time is usually -- should be expected”) (statement of Judge Hogan).

            D. The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

         General Deterrence

         The need for general deterrence weighs heavily in favor of incarceration in nearly every

case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most

compelling reason to impose a sentence of incarceration. “Future would-be rioters must be

deterred.” (statement of Judge Nichols at sentencing, United States v. Thomas Gallagher, 1:21-

CR-00041 Tr. 10/13/2021 at 37).




2
 Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight      and      Reform      Committee       (June     15,     2021),   available          at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20
Testimony.pdf
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       General deterrence is an important consideration because many of the rioters intended that

their attack on the Capitol would disrupt, if not prevent, one of the most important democratic

processes we have: the peaceful transfer of power to a newly elected President. As noted by Judge

Moss during sentencing, in United States v. Paul Hodgkins, 21-cr-188-RDM:

       [D]emocracy requires the cooperation of the governed. When a mob is prepared to
       attack the Capitol to prevent our elected officials from both parties from performing
       their constitutional and statutory duty, democracy is in trouble. The damage that
       [the defendant] and others caused that day goes way beyond the several-hour delay
       in the certification. It is a damage that will persist in this country for decades.

Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was seven

months ago for the United States and our diplomats to convince other nations to pursue democracy.

It means that it will be harder for all of us to convince our children and our grandchildren that

democracy stands as the immutable foundation of this nation.” Id. at 70.

       The gravity of these offenses demands deterrence. This was not a protest. See United States

v. Paul Hodgkins, 21-cr-188-RDM, Tr. at 46 (“I don’t think that any plausible argument can be

made defending what happened in the Capitol on January 6th as the exercise of First Amendment

rights.”) (statement of Judge Moss). And it is important to convey to future potential rioters—

especially those who intend to improperly influence the democratic process—that their actions

will have consequences. There is possibly no greater factor that this Court must consider.

       Specific Deterrence

       As previously stated, Morrissey has not expressed genuine remorse for his conduct on

January 6. Perhaps a step further, he has indicated that his actions on that day have not had an

appreciable impact on his life. PSR ¶ 26-27. Morrissey has not offered a particular reason or

motivation for his actions, making it unclear what, if anything, has changed regarding his

perception of the inherent wrongfulness of his actions. Absent that recognition, there is no



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indication he would not engage in similar conduct in the future. Without any evidence Morrissey

is self-correcting, the Court, through its authority, must deter Morrissey from engaging in similar

acts in the future. To that end, the government submits to the Court that 14 days incarceration as

part of a term of probation is warranted.

           E. The Need to Avoid Unwarranted Sentencing Disparities

       As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, such as

in this case, to assault on police officers, to conspiracy to corruptly interfere with Congress. 3 This

Court must sentence Morrissey based on his own conduct and relevant characteristics, but should

give substantial weight to the context of his unlawful conduct: his participation in the January 6

riot. Although those like Morrissey convicted of misdemeanors are generally less culpable than

defendants convicted of felonies, misdemeanor breaches of the Capitol on January 6, 2021, were

not minor crimes. A probationary sentence should not be the default. 4 See United States v. Anna

Morgan-Lloyd, 1:21-cr-00164 (RCL), Tr. 6/23/2021 at 19 (“I don’t want to create the impression

that probation is the automatic outcome here because it’s not going to be.”) (statement of Judge



3
  Attached to this supplemental sentencing memorandum is a table providing additional
information about the sentences imposed on other Capitol breach defendants. That table also
shows that the requested sentence here would not result in unwarranted sentencing disparities.
4
   Early in this investigation, the Government made a very limited number of plea offers in
misdemeanor cases that included an agreement to recommend probation, including in United
States v. Anna Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-
cr-00097(PFF); and United States v. Donna Sue Bissey, 1:21-cr-00165(TSC). The government is
abiding by its agreements in those cases, but has made no such agreement in this case. Cf. United
States v. Rosales-Gonzales, 801 F.3d 1177, 1183 (9th Cir. 2015) (no unwarranted sentencing
disparities under 18 U.S.C. § 3553(a)(6) between defendants who plead guilty under a “fast-track”
program and those who do not given the “benefits gained by the government when defendants
plead guilty early in criminal proceedings”) (citation omitted).


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Lamberth at sentencing). Accord, United States v. Valerie Ehrke, 1:21-cr-00097 (PFF), Tr.

9/17/2021 at 13 (statement of Judge Friedman).

       The government and the sentencing courts have already begun to make meaningful

distinctions between offenders. Those who engaged in felonious conduct are generally more

dangerous, and thus, treated more severely in terms of their conduct and subsequent punishment.

Those who trespassed, but engaged in aggravating factors, merit serious consideration of

institutional incarceration. Those who trespassed, but engaged in less serious aggravating factors,

deserve a sentence more in line with minor incarceration or home detention.

       Morrissey has pleaded guilty to Count 4 of the Information, charging him with 40 U.S.C.

§ 5104(e)(2)(G) - parading, demonstrating, or picketing in a Capitol Building. This offense is a

Class B misdemeanor. 18 U.S.C. § 3559; 40 U.S.C. § 5109(b). Certain Class B and C

misdemeanors and infractions are “petty offenses,” 18 U.S.C. § 19, to which the Sentencing

Guidelines do not apply, U.S.S.G. 1B1.9. The sentencing factors set forth in 18 U.S.C. § 3553(a),

including “the need to avoid unwarranted sentence disparities among defendants with similar

records who have been found guilty of similar conduct,” 18 U.S.C.A. § 3553(6), do apply,

however.

       For one thing, although all the other defendants discussed below participated in the Capitol

breach on January 6, 2021, many salient differences explain the differing recommendations and

sentences. Avoiding unwarranted disparities requires the courts to consider not only a defendant’s

“records” and “conduct” but other relevant sentencing criteria, such as a defendant’s expression of

remorse or cooperation with law enforcement. See United States v. Hemphill, 514 F.3d 1350, 1365

(D.C. Cir. 2008) (no unwarranted disparity regarding lower sentence of codefendant who, unlike

defendant, pleaded guilty and cooperated with the government).



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       Moreover, assessing disparities, and whether they are unwarranted, requires a sufficient

pool of comparators. In considering disparity, a judge cannot “consider all of the sentences not yet

imposed.” United States v. Godines, 433 F.3d 68, 69–71 (D.C. Cir. 2006). “The most a judge can

do is consider those other sentences that do exist,” and “[t]he comparable sentences will be much

smaller in the early days of any sentencing regime than in the later.” Id.; see generally United

States v. Accardi, 669 F.3d 340, 346 (D.C. Cir. 2012) (“Without more, two allegedly similar cases

constitute too small a sample size to support a finding of an ‘unwarranted disparity’ in sentences.”).

In cases for which the Sentencing Guidelines apply, “[t]he best way to curtail ‘unwarranted’

disparities is to follow the Guidelines, which are designed to treat similar offenses and offenders

similarly.” United States v. Bartlett, 567 F.3d 901, 908 (7th Cir. 2009). See id. (“A sentence within

a Guideline range ‘necessarily’ complies with § 3553(a)(6).”). Because the Sentencing Guidelines

do not apply here, the sentencing court cannot readily conduct a disparity analysis against a

nationwide sample of cases captured by the Sentencing Guidelines.

       Even in Guidelines cases, sentencing courts are permitted to consider sentences imposed

on co-defendants in assessing disparity. E.g., United States v. Knight, 824 F.3d 1105, 1111 (D.C.

Cir. 2016); United States v. Mejia, 597 F.3d 1329, 1343-44 (D.C. Cir. 2010); United States v. Bras,

483 F.3d 103, 114 (D.C. Cir. 2007). The Capitol breach was sui generis: a mass crime with

significant distinguishing features, including the historic assault on the seat of legislative branch

of federal government, the vast size of the mob, the goal of impeding if not preventing the peaceful

transfer of Presidential power, the use of violence by a substantial number of rioters against police

officers, and large number of victims. Thus, even though many of defendants were not charged as

conspirators or as codefendants, the sentences handed down for Capitol breach offenses is an

appropriate group for purposes of measuring disparity of any future sentence.



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   While no previously sentenced case contains the same balance of aggravating and mitigating

factors present here, , United States v. Joseph Zlab.   21-cr-389 (RW). In Zlab, the defendant

entered the U.S. Capitol building knowing that he did not have permission to enter the building

and wandered throughout the building for approximately thirteen minutes. He also sent text

messages indicting he was proud of his entry into the Capitol. Mr. Zlab was sentenced to 36

months’ probation, $500 fine, $500 restitution and 200 hours of community service. Here,

Morrissey remained in the Capitol for twice as long, and loudly protested outside the House doors,

where the electoral votes were to be counted.

   Similarly, in United States v. Jennifer Heinl, the defendant witnessed clashes with law

enforcement and was therefore aware of potential for violence inside the Capitol. While Heinl

was inside the Capitol for a longer period of time (47 minutes) than Morrissey, Morrissey was part

of a group of people pushing against law enforcement and encouraging others to break down the

House Main Door. Judge Sullivan sentenced Heinl to 14 days incarceration as a condition of 24

months of probation

   In United States v. Jordan Revlett, the defendant spent more than 30 minutes inside of the

Capitol building and took numerous photos using his mobile telephone showing physical

altercations between police and rioters inside the Rotunda. Mr. then broadcasted his breach of the

Capitol and videos from inside the building via Snapchat. While inside the Rotunda, he used a

bullhorn to make statements of unknown content and joined in chants with other rioters against

the police and never yet to expressed meaningful remorse for his conduct on January 6. Again,

Morrissey’s conduct is similar to Revlett’s. Both Morrissey and Revlett spent roughly half an hour

inside the Capitol, despite being aware of the violence unfolding around them. Both engaged in




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provocative behavior toward law enforcement, and neither expressed genuine remorse.           Judge

Boasberg sentenced Revlett to 14 days incarceration as a condition of 12 months of probation.

        In any event, the goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is

“only one of several factors that must be weighted and balanced,” and the degree of weight is

“firmly committed to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d

220, 254 (2d Cir. 2012). The § 3553(a) factors that this Court assesses are “open-ended,” with the

result that “different district courts may have distinct sentencing philosophies and may emphasize

and weigh the individual § 3553(a) factors differently; and every sentencing decision involves its

own set of facts and circumstances regarding the offense and the offender.” United States v.

Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095.

   V.      The Court’s Lawful Authority to Impose a Split Sentence

        A sentencing court may impose a “split sentence”—“a period of incarceration followed by

period of probation,” Foster v. Wainwright, 820 F. Supp. 2d 36, 37 n.2 (D.D.C. 2011) (citation

omitted)—for a defendant convicted of a federal petty offense. See 18 U.S.C. § 3561(a)(3); see

United States v. Little, 21-cr-315 (RCL), 2022 WL 768685, at *1 (D.D.C. Mar. 14, 2022)

(concluding that “ a split sentence is permissible under law and warranted by the circumstances of

this case); United States v. Smith, 21-cr-290 (RBW), ECF 43 (D.D.C. Mar. 15, 2022) (imposing

split sentence); United States v. Meteer, 21-cr-630 (CJN), ECF 37 (D.D.C. April 22, 2022)

(imposing split sentence); United States v. Sarko, 21-cr-591 (CKK), ECF 37 (D.D.C. April 29,

2022) (imposing split sentence); United States v. Entrekin, 21-cr-686 (FYP), ECF 34 (D.D.C. May


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6, 2022) (imposing split sentence); United States v. Hemphill, 21-cr-555(RCL), ECF 47 (D.D.C.

May 24, 2022) (imposing split sentence); United States v. Buhler, 21-cr-510(CKK), ECF 38

(D.D.C. June 1, 2022) (imposing split sentence); United States v. Caplinger, 21-cr-342(PLF), ECF

65 (D.D.C. June 7, 2022) (opinion concluding that split sentence is permissible). In addition, for

any defendant placed on probation, a sentencing court may impose incarceration for a brief interval

as a condition of probation under 18 U.S.C. § 3563(b)(10).

       A. A sentence imposed for a petty offense may include both incarceration and
          probation.

           1. Relevant Background

       In 1984, Congress enacted the Sentencing Reform Act, which in substantial part remains

the sentencing regime that exists today. See Pub. L. No. 98–473, §§211-212, 98 Stat 1837 (1984),

codified at 18 U.S.C. § 3551 et seq.; see Mistretta v. United States, 488 U.S. 361, 365-66 (1989)

(noting that the Sentencing Reform Act of 1984 wrought “sweeping changes” to federal criminal

sentencing). That legislation falls in Chapter 227 of Title 18, which covers “Sentences.” Chapter

227, in turn, consists of subchapter A (“General Provisions”), subchapter B (“Probation”),

subchapter C (“Fines”), and subchapter D (“Imprisonment).            Two provisions—one from

subchapter A and one from subchapter B—are relevant to the question of whether a sentencing

court may impose a term of continuous incarceration that exceeds two weeks 5 followed by a term

of probation.

       First, in subchapter A, 18 U.S.C. § 3551 sets out “[a]uthorized sentences.” Section 3551(a)

makes clear that a “defendant who has been found guilty of” any federal offense “shall be

sentenced in accordance with the provisions of” Chapter 227 “[e]xcept as otherwise specifically


5
 A period of incarceration that does not exceed two weeks followed by a term of probation is also
permissible under 18 U.S.C. § 3563(b)(10). See Part II infra.

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provided.” 18 U.S.C. § 3551(a). Section 3551(b) provides that a federal defendant shall be

sentenced to “(1) a term of probation as authorized by subchapter B; (2) a fine as authorized by

subchapter C; or (3) a term of imprisonment as authorized by subchapter D.” 18 U.S.C. § 3551(b). 6

As a general matter, therefore, “a judge must sentence a federal offender to either a fine, a term of

probation, or a term of imprisonment.” United States v. Kopp, 922 F.3d 337, 340 (7th Cir. 2019).

       Second, 18 U.S.C. § 3561, the first provision in subchapter B, addresses a “[s]entence of

probation.” As initially enacted, Section 3561 provided that a federal defendant may be sentenced

to a term of probation “unless . . . (1) the offense is a Class A or Class B felony and the defendant

is an individual; (2) the offense is an offense for which probation has been expressly precluded; or

(3) the defendant is sentenced at the same time to a term of imprisonment for the same or a different

offense.” Pub. L. No. 98-473, at § 212; see United States v. Anderson, 787 F. Supp. 537, 539 (D.

Md. 1992) (noting that the Sentencing Reform Act did not permit “a period of ‘straight’

imprisonment . . . at the same time as a sentence of probation”).

       Congress, however, subsequently amended Section 3561(a)(3).              In 1991, Congress

considered adding the following sentence to the end of Section 3561(a)(3): “However, this

paragraph does not preclude the imposition of a sentence to a term of probation for a petty offense

if the defendant has been sentenced to a term of imprisonment at the same time for another such

offense.” H.R. Rep. 102-405, at 167 (1991). Instead, three years later Congress revised Section

3561(a)(3) by appending the phrase “that is not a petty offense” to the end of the then-existing

language. See H.R. Rep. No. 103-711, at 887 (1994) (Conference Report). In its current form,

therefore, Section 3561(a)(3) provides that a defendant “may be sentenced to a term of probation



6
 Section 3551(b) further provides that a sentencing judge may impose a fine “in addition to any
other sentence.” 18 U.S.C. § 3551(b).

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unless . . . the defendant is sentenced at the same time to a term of imprisonment for the same or a

different offense that is not a petty offense.” 18 U.S.C. § 3561(a)(3).

           2. Analysis

       Before Congress passed the Sentencing Reform Act of 1984, sentencing courts could

impose a split sentence on a federal defendant in certain cases. See United States v. Cohen, 617

F.2d 56, 59 (4th Cir. 1980) (noting that a sentencing statute enacted in 1958 had as its “primary

purpose . . . to enable a judge to impose a short sentence, not exceeding sixth months, followed by

probation on a one count indictment”); see also United States v. Entrekin, 675 F.2d 759, 760-61

(5th Cir. 1982) (affirming a split sentence of six months’ incarceration followed by three years of

probation). In passing the Sentencing Reform Act, Congress sought generally to abolish the

practice of splitting a sentence between imprisonment and probation because “the same result”

could be accomplished through a “more direct and logically consistent route,” namely the use of

supervised release as set out in 18 U.S.C. §§ 3581 and 3583. S. Rep. No. 225, 1983 WL 25404,

at *89; accord United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) § 5B1.1,

Background. But Congress’s 1994 amendment to Section 3561(a)(3) reinstated a sentencing

court’s authority to impose a split sentence for a petty offense.

       Under 18 U.S.C. § 3561, a defendant “may be sentenced to a term of probation unless . . .

the defendant is sentenced at the same time to a term of imprisonment for the same or a different

offense that is not a petty offense.” 18 U.S.C. § 3561(a)(3). Thus, for any federal offense other

than a petty offense, Section 3561(a)(3) prohibits “imposition of both probation and straight

imprisonment,” consistent with the general rule in Section 3551(b). United States v. Forbes, 172

F.3d 675, 676 (9th Cir. 1999); see United States v. Martin, 363 F.3d 25, 31 (1st Cir. 2004); United

States v. Harris, 611 F. App’x 480, 481 (9th Cir. 2015); Anderson, 787 F. Supp. at 539.



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       But the statutory text of 18 U.S.C. § 3561(a)(3) goes further by permitting a court to

sentence a defendant to a term of probation “unless” that defendant “is sentenced at the same

time to a term of imprisonment for the same or a different offense that is not a petty offense.” 18

U.S.C. § 3561(a)(3). Section 3561 “begins with a grant of authority”—permitting a court to

impose probation—followed by a limitation in the words following “unless.” Little, 2022 WL

768685, at *4. But that limitation “does not extend” to a defendant sentenced to a petty offense.

See id. (“[W]hile a defendant’s sentence of a term of imprisonment may affect a court's ability to

impose probation, the petty-offense clause limits this exception.”).

       It follows that when a defendant is sentenced for a petty offense, that defendant may be

sentenced to a period of continuous incarceration and a term of probation. See United States v.

Posley, 351 F. App’x 807, 809 (4th Cir. 2009) (per curiam). In Posley, the defendant, convicted

of a petty offense, was sentenced to two years of probation with the first six months in prison. Id.

at 808.    In affirming that sentence, the Fourth Circuit concluded that Section 3561(a)(3)

“[u]nquestionably” provided statutory authority to sentence the petty-offense defendant to “a term

of six months of continuous imprisonment plus probation.” Id. at 809; see Cyclopedia of Federal

Procedure, § 50:203, Capacity of court to impose probationary sentence on defendant in

conjunction with other sentence that imposes term of imprisonment (3d ed. 2021) (“[W]here the

defendant is being sentenced for a petty offense, a trial court may properly sentence such individual

to a term of continuous imprisonment for a period of time, as well as a sentence of probation.”)

(citing Posley); see also Wright and Miller, Federal Practice and Procedure, § 547, at n.13 (4th

ed. 2021) (“A defendant may be sentenced to probation unless he . . . is sentenced at the same time

to imprisonment for an offense that is not petty.”) (emphasis added).




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       Nor does the phrase “that is not a petty offense” in Section 3561(a)(3) modify only

“different offense.” See Little, 2022 WL 768685, at *5-*6 (concluding that “same” in Section

3561(a)(3) functions as an adjective that modifies “offense”). Section 3561(a)(3) does not state

“the same offense or a different offense that is not a petty offense,” which would imply that the

final modifier—i.e., “that is not a petty offense”—applies only to “different offense.” The phrase

“that is not a petty offense” is a postpositive modifier best read to apply to the entire, integrated

phrase “the same or a different offense.” See Antonin Scalia & Bryan A. Garner, Reading Law:

The Interpretation of Legal Texts 148 (2012). Had Congress sought to apply the phrase “not a

petty offense” solely to “different offense,” the “typical way in which syntax would suggest no

carryover modification” would be some language that “cut[s] off the modifying phrase so its

backward reach is limited.” Id. at 148-49. And while the indefinite article “a” might play that

role in other contexts (e.g., “either a pastry or cake with icing” vs. “either a pastry or a cake with

icing”), the indefinite article in Section 3561(a)(3) merely reflects the fact that the definite article

before “same” could not naturally apply to the undefined “different offense.” See Little, 2022 WL

768685, at *6 (identifying other statutes and “legal contexts” with the identical phrase that carry

the same interpretation).

       Permitting a combined sentence of continuous incarceration and probation for petty

offenses is sensible because sentencing courts cannot impose supervised release on petty-offense

defendants. See 18 U.S.C. § 3583(b)(3); United States v. Jourdain, 26 F.3d 127, 1994 WL 209914,

at *1 (8th Cir. 1994) (unpublished) (plain error to impose a term of supervised release for a petty

offense). When Congress in 1994 amended the language in Section 3561(a), it again provided

sentencing courts with “latitude,” see S. Rep. 98-225, 1983 WL 25404, at *89, to ensure some

degree of supervision—through probation—following incarceration.



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       Section 3551(b)’s general rule that a sentencing court may impose either imprisonment or

probation (but not both) does not preclude a sentencing court from imposing a split sentence under

Section 3561(a)(3) for a petty offense for two related reasons.

       First, the more specific permission for split sentences in petty offense cases in Section

3561(a)(3) prevails over the general prohibition on split sentences in Section 3551(b). See Morton

v. Mancari, 417 U.S. 535, 550-51 (1974) (“Where there is no clear intention otherwise, a specific

statute will not be controlled or nullified by a general one.”). As noted above, when Congress

enacted the general prohibition on split sentences in Section 3551(b), it had not yet enacted the

more specific carveout for split sentences in petty offense cases in Section 3561(a)(3). That

carveout does not “void” the general prohibition on split sentences in Section 3551(b); rather,

Section 3551(b)’s general prohibition’s “application to cases covered by the specific provision [in

Section 3651(a)(3)] is suspended” as to petty offense cases. Scalia & Garner, supra, at 184. In

other words, Section 3551(b)’s prohibition against split sentences “govern[s] all other cases” apart

from a case involving a petty offense. Id. This interpretation, moreover, “ensures that all of

Congress’s goals set forth in the text are implemented.” Little, 2022 WL 768685, at *8.

       Second, to the extent Section 3551(b)’s general prohibition against split sentences conflicts

with Section 3561(a)(3)’s permission for split sentences in petty offense cases, the latter, later-

enacted provision controls. See Posadas v. Nat’l Bank of N.Y., 296 U.S. 497, 503 (1936) (“Where

provisions in the two acts are in irreconcilable conflict, the later act to the extent of the conflict

constitutes an implied repeal of the earlier one.”); Scalia & Garner, supra, at 327-329. Where a

conflict exists “between a general provision and a specific one, whichever was enacted later might

be thought to prevail.” Id. at 185. “The “specific provision”—here Section 3561(a)(3)—“does

not negate the general one entirely, but only in its application to the situation that the specific



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provision covers.” Id. Section 3551(b)’s general prohibition does not operate against the more

specific, later-enacted carveout for split sentences in Section 3561(a)(3).

       An interpretation of Sections 3551(b) and 3561(a) that a sentencing court “must choose

between probation and imprisonment when imposing a sentence for a petty offense,” United States

v. Spencer, No. 21-cr-147 (CKK), Doc. 70, at 5 (Jan. 19, 2022), fails to accord the phrase “that is

not a petty offense” in Section 3561(a)(3) any meaning. When Congress in 1994 amended Section

3561(a)(3) to include that phrase, it specifically permitted a sentencing court in a petty offense

case to deviate from the otherwise applicable general prohibition on combining continuous

incarceration and probation in a single sentence.        Ignoring that amended language would

improperly fail to “give effect to every clause and word” of Section 3561(a)(3). Marx v. Gen.

Revenue Corp., 568 U.S. 371, 385 (2013).

       Congress’s unenacted language from 1991 does not suggest that a split sentence is available

only where a defendant is sentenced at the same time for two different petty offenses or for two

offenses, at least one of which is a petty offense. For one thing, the Supreme Court has regularly

rejected arguments based on unenacted legislation given the difficulty of determining whether a

prior bill prompted objections because it went too far or not far enough. See Mead Corp. v. Tilley,

490 U.S. 714, 723 (1989) (“We do not attach decisive significance to the unexplained

disappearance of one word from an unenacted bill because ‘mute intermediate legislative

maneuvers’ are not reliable indicators of congressional intent.”) (citation omitted). Moreover,

under that view, every offense other than a petty offense could include some period of

incarceration and some period of supervision (whether that supervision is supervised release or

probation). Yet so long as a defendant was convicted of two petty offenses, that defendant could




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be sentenced to incarceration and supervision (in the form of probation). No sensible penal

policy supports that interpretation.

       It follows that a sentencing court may impose a combined sentence of incarceration and

probation where, as here, the defendant is convicted of a petty offense. The defendant pleaded

guilty to one count of 40 U.S.C. § 5104(e)(2)(G): Parading, Demonstrating, or Picketing in the

Capitol Building, which is a “petty offense” that carries a maximum penalty that does not exceed

six months in prison and a $5,000 fine. See 18 U.S.C. § 19; see United States v. Soderna, 82 F.3d

1370, 1381 n.2 (7th Cir. 1996) (Kanne, J., concurring) (citations omitted) (noting that a petty

offender may face a sentence of up to five years in probation).

       B. A sentence of probation may include incarceration as a condition of probation,
          though logistical and practical reasons may militate against such a sentence
          during an ongoing pandemic.

           1. Relevant background

       In 18 U.S.C. § 3563, Congress set out “[c]onditions of probation.” 18 U.S.C. § 3563.

Among the discretionary conditions of probation a sentencing court may impose is a requirement

that a defendant

           remain in the custody of the Bureau of Prisons during nights, weekends or other
           intervals of time, totaling no more than the lesser of one year or the term of
           imprisonment authorized for the offense, during the first year of the term of
           probation or supervised release.

18 U.S.C. § 3563(b)(10). Congress enacted this provision to give sentencing courts “flexibility”

to impose incarceration as a condition of probation in one of two ways. S. Rep. No. 225, 1983

WL 25404, at *98. First, a court can direct that a defendant be confined in “split intervals” over




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weekends or at night. Id. Second, a sentencing court can impose “a brief period of confinement”

such as “for a week or two.” Id. 7

       A. Analysis

       A sentencing court may impose one or more intervals of imprisonment up to a year (or the

statutory maximum) as a condition of probation, so long as the imprisonment occurs during

“nights, weekends or other intervals of time.” 18 U.S.C. § 3563(b)(10). Although the statute does

not define an “interval of time,” limited case law suggests that it should amount to a “brief period”

of no more than a “week or two” at a time. United States v. Mize, No. 97-40059, 1998 WL 160862,

at *2 (D. Kan. Mar. 18, 1998) (quoting Section 3563(b)(10)’s legislative history described above

and reversing magistrate’s sentence that included 30-day period of confinement as a condition of

probation); accord United States v. Baca, No. 11-1, 2011 WL 1045104, at *2 (C.D. Cal. Mar. 18,

2011) (concluding that two 45-day periods of continuous incarceration as a condition of probation

was inconsistent with Section 3563(b)(10)); see also Anderson, 787 F. Supp. at 538 (continuous

60-day incarceration not appropriate as a condition of probation); Forbes, 172 F.3d at 676 (“[S]ix

months is not the intermittent incarceration that this statute permits.”). Accordingly, a sentence of

up to two weeks’ imprisonment served in one continuous term followed by a period of probation

is permissible under Section 3563(b)(10). 8




7
  Section 3563(b)(10)’s legislative history notes that imprisonment as a term of probation was “not
intended to carry forward the split sentence provided in Section 3561, by which the judge imposes
a sentence of a few months in prison followed by probation.” S. Rep. No. 225, 1983 WL 25404,
at *98.
8
  Section 3563(b)(10)’s use of the plural to refer to “nights, weekends, or intervals of time” does
not imply that a defendant must serve multiple stints in prison. Just as “words importing the
singular include and apply to several persons, parties, or things,” “words importing the plural
include the singular.” 1 U.S.C. § 1; see Scalia & Garner, supra, at 129-31.
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         A sentencing court may also impose “intermittent” confinement as a condition of probation

to be served in multiple intervals during a defendant’s first year on probation. 18 U.S.C.

§ 3563(b)(10); see Anderson, 787 F. Supp. at 539. Notwithstanding a sentencing court’s legal

authority to impose intermittent confinement in this manner, the government has refrained from

requesting such a sentence in Capitol breach cases given the potential practical and logistical

concerns involved when an individual repeatedly enters and leaves a detention facility during an

ongoing global pandemic. Those concerns would diminish if conditions improve or if a given

facility is able to accommodate multiple entries and exits without unnecessary risk of exposure.

In any event, the government does not advocate a sentence that includes imprisonment as a term

of probation in the defendant’s case given the requested 14-day imprisonment sentence.



   VI.      Conclusion

         Sentencing requires the Court to carefully balance the § 3553(a) factors. Balancing these

factors, the government recommends that this Court sentence Defendant to 90 days’ home

detention as part of a 36-month term of probation, 60 hours of community service, and $500

restitution. Such a sentence protects the community, promotes respect for the law, and deters future

crime by imposing restrictions on his liberty as a consequence of Defendant Morrissey’s behavior,

while recognizing his acceptance of responsibility for his crime.

                                              Respectfully submitted,

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                                              D.C. Bar No. 481052

                                      By:     /s/ Christopher Tortorice ________




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                                CERTIFICATE OF SERVICE

       On this 11th day of August, 2022, a copy of the foregoing was served upon all parties listed
on the Electronic Case Filing (ECF) System.


                                                     /s/Christopher Tortorice
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